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                         EXHIBIT A




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         ATTORN OR PARTY WFTHOUTAT-roRNEY
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                                                                                                                   FOR 0010iff%;j1pq
                                                                                                                                   ,5-yj
            N!10iael Jaurique SAN 2981M
           Jaulfigue Law Group                                                                                      Superior Court of California
           300 W Glenoaks Ewv4 30o                                                                                     County of Los :Angeles
           Glenftle CA 9120z
           (818)830-7280                                                                                                     NOV 2 12017
         ATTORWY FOR Plaintiff
                                                                                                              Sherri R. Carter,Executive Officer/Clirk
        SUPERIOR COURT OF CALJFORN[A, COUNTY OF: LO$ ANGELr=s
        III N M SL                                                                                                                        Depu y
        Los Angeles, GA 90M2                                                                                             Rita Na"za-
                                                                                                                                   -r-yan

        PLAIMIMPETITIONER;              Meritza Castrellon                                                    CASE WmBER:
                                                                                                              BC680851
        DEFENDANTIMSPONDENT:            Fitneas Chb Manaqwtent,ILLC

                                    .
                                        PrOOf Of Servir-e of Summons


                                                                                                                                   BY FAX
      1- At the time OtSMiCe I was at least 18 years of ageand not a party to tilis action.

      2. 1 served copies of.

                                                              Class-Action Complaint
                                                               Civil Care Cover Sheet
                                                              Civil Case Cover ~Sheet Addendum and &atement of
                                                             'Location
                                                               Notice of Qise AssignMard
                                                               VuluntarY Efficient L.Itigation-Stipulations



     3a. Party Served:
                                                             VAN NUYS FITNESS, LLC,'a Calffornia Wnited liability compqny
                                                             BY Sming Curtis Harman, Ageht for Service
     4. Address where the party wEs served.
                                                             19M Prairie St SL- 200
                                                             Chatswqrth, CA 91all
     5. Izerved ffm party.
        b. By vubefiftilled service. on: 111=01I at.
                                                       10-10 AM I leftthe documents listed in Item 2 w'ith or in the presence of

                                                    Greg Maloornlan
                                                    CFO
     Gender M AGE:34 Heipht:62n Weight: f
                                              80 Raw: Cauc Hair. trown Otw,
                  (1)(buWrremss) a person at hmt 18 years of age
                                                                   890rehtly in darge at the office or usual place of
                   tKislness of the person to he sexed. I informed
                                                                   hkn or her ofthe general nature of the papers.




                                                                                                                     CONTINUED ON NEXT PAGF
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            ry 1.20orn                                                                                                             C0ft*fGM1PM--ftM OF17
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                                                              Proof Of gemce .ofSummons
    Billins Cadee Crundi
                                                                                                               Invoice Nor    1704031-M
I




                                                                    14:33:112017-11-21

                                                                                                                                          Exhibit A
                                                                                                                                          Page 18
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       C~




              PLANTIFFIPETI[TIONER:                 Maritra Castrellon                                              CASE NUMBER:
                                                                                                                    EC680851
              DEFENDANT/RESPONDENT:                 Fibms Club Managernant I-LC




                                  (4) A declaration of rriailing is attached.

            6. The'Notloe to the Person Served"(on the summons)was complated as follows;


                                                                     d. on behalf of--

                                                                     VAN NUYS FITNESS, LLC, a California firnited fiabilfty oompan'y

                                                                      -wider the follovAng Code of Qvil Procedure section:

                                                                     416.40(associatlon or partnership)
            7. Pemon who senred papers
               a. Name. James riqueroa
              b. Addrew: 1 W Wilshire Blvd, Suite 311, Loa Angeles, CA 90017
              c. Telephone number 213-628-6338
              d. The fee fbr this service was:e2,Oa
              o. I am:
              (3)[Xj a regttered California prooess server
                     (1)[XI Indgpended corftcgor
                     (is) Registration No.* 3204 Expires: 6/12/2-016
                     (10)County. Los Angeles

            S. I dedare under penalty of perjury under the tam of the
                                                                          State of Oallfbmia that the foregoing is mie and corrW.




  I
            1111612017 -
            James rigueroa
                                U.W
                     10                                                                                                                Cmofcm Rue&". 64V.10
            1P-- JmuW 1,0071
J.                                                                    Proof -Of SOrvice of.Sum.mons
 .          Wing Code: Crunch
                                                                                                                       Invoice NO:   1794031-94
 L11




                                                                           14,33:112017-11-21

                                                                                                                                            Exhibit A
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Case 2:17-cv-08825-SJO-E Document 1-1 Filed 12/07/17 Page 16 of 29 Page ID #:20




     ATTORNEY OR PARTY WrTHouTATroR–
                                   N~ji.me and Adtlrave)                 -' YELEPHONENUFa—ER
      MIC11.201 Jautue SBN 2osi23                                                                                 FOR COURT USE. OiZL-Y
                                                                                                                                      -
                                                                            (810)630-728a
      --inque Law Group
      30DWrolenoaks Blvd=
      GIMIdeJe CA 91202
                                                                             Ref, No. or RIA No,
      ATTORNEY FOR Plaint4f
                                                                             Qxwch
    SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
    ill N ~-Mlst.
    LOS AngeM,CA 90012
                    -
    SHORT TITLE OF CASE'
    Castrellon, Maritza v. Fitrums Club Man2gement, LLC

     INVOICE NO-              DA'rE-                 TIME~                   DEPJDIV.                      CASE NUMBER:
     1794031-03
                                                                                                           BC68MI


                                                                                                                        BY PAX
                                                         Proof of 8ervloe by Mail

   am a citiZen of the United States and employe!d In the County of Los Angeles State of CaljfDrnia,
  hefelA Mentioned,over the age of eighteen yeam;and not a party to the                              I arn and was on the datm
                   .                                                      action.
  On 11/1 W017 aftersubstihAed service under secGon
                                                          C.C,P. 415-20(a), 415.20(b), or 416.95(a)was made, I served tfie
                                                                                                                   vAthim'
  Summons; Ch-wa-Actlon Complaint civil Case Cover Sheet
                                                            Civil Case Cover Sheet Addendum and Statement of Location;
  NOVce OfCase Assignment Voluntary Efficiant Lltlga~pn Stipulations;

 On the defendant In'eak(action, by Placing atrue copy
                                                         ther~of anc'losed Ina sealed envelope-m(ith Postage thereon
 for frst ckiss 16 the United States mail At Los                                                                     pre-Daid
                                                 Angeles,C2FOOM11), addressed as follows:
 VAN NUYS FITNESS,LLC. a Cardomia limited liability oomp3ny
 Curtis Harman ,Agent for Service
 19W Prolde St Ste 200
 Chats~,CA 91311

 Declarant
   a- Namc U8113arda Abashyan
   b. Addreso; 1545 VVII§NrO Blvd. 5ufte 311, Los Angeles,
                                                           CA 9OD17
   c. T016pMrie number 213-62"338
   d. The fee for Mir.service was:82.03

   (3)[Xj a registered Callforinia,Process
                                           6erver
         0)PQ Employee
         VQ Registration No,,140/6700
        (ill) County: Los Angeles


 I dedare under penafty of paqury under the Lmys.
                                                    of the 1%tO Of C81ftmia that the foregoing is true
                                                                                                         and oorrect.




11/14/2017

Mafgaft Abeshyan



MwngCww-crunoh                                         PrO& Of Stivice by.Mal(Agent




                                                               14:33:112017-11-21

                                                                                                                                 Exhibit A
                                                                                                                                 Page 20
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   I                                            PROOFOFSERVICE
   2    I am employed in -the County of Los Angeles; I am over the age ofeighteen years and am not a party to
        the within action, and my business address is 300 West Glenoaks)3oulevard, Suite 300, Glendale,
   3    California 91202.
   4    On November 21,2017,1 served the document(s)described as PROOF OF SERVICE OF -
        SUMMONS AND COMPLAINT on'the party6es) in this action by delivering a true copy(ies)
   5    addressed as follows:
   6    FITNESS CLUB MANAGEMENT,LLC
   7    Attn. Curtis Harman, Agentfor Service
        18566 Clydesdale Rd
   8    Granada Hills, CA 91344

   9    HARMAN -FrFNESS,LLC
        Attn: Curds Harman, Agent for Service
  10    18566 Clydesdale Rd
        Granada Hills, CA 91344
  11
      VAN NVYS FITNESS,LLC
  12 .Attn: Curtis HarmanAgent for Service
      19867 Prairie St., Suite 200
  13
      Chatsworth,'CA~91311
  14

  15    XXX BY U.S. MAM: I am readily familiar with the firtn's practice of collection and pro6.essing
               correspondence for mailing. Under that practice, an envelope(s) containing the document(s)
  16           would be deposited wiffi the U.S. Postal Service on thatsame day, with postage there~on fully
               prepaid, at dlendale, California in the ordinary course of business. I am aware that~ on motion of
               ~he party served, service is presumed invalid ifthe postal-cancellation date or postage-meter date
  17
               is more than one day after the date ofdeposit for mailing.
  19    0      BY OVERNIGHT DELIVERY()R EXPRESS MAIL: I enclosed the documeut(§)in Em
  '19          envelope(s) or package(s)allowed by an overnight-delivery carrier and/or by the U.S.. Post
               Office for express mail, and addressed to the person(s)at the address(es) above. I placed the
  20           envelope(s)or package(s)for collection and overnight delivery or express mail at anoffiee or a
               regularly utilized drop-box ofthe overnight-delivery carrier, or I dropped it offat the,: U.S. Post
               Office.
  21
  22           BY HAND DELIVERY: I caused the dorument(s)to be delivered by hand to dt lea'st one ofthe
               individuals listed above.
  23
        I declare under penalty ofperjury under the laws ofthe State of California and the United States that the
  24    foregoing is true and correct. Executed on November 21,20170 at Glendale, California'.

  25
                                                                        qgw,~   I A   tit,
                                                                                         1",~


  26                                                                 Estineh Megerdichian

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                                                14:kF_%)Aff_fFW1CF_

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Case 2:17-cv-08825-SJO-E Document 1-1 Filed 12/07/17 Page 24 of 29 Page ID #:28




                                                                                                                                                      POS-010
   ATTORNEY OR PARTY WITHOUT ATTORNFY                                                                                FOR COURT USE ONLY
     Michael Jaurigue SBN 208123
     Jaurigue Law Group                                                                                            ts
     3M W Glewalcgi Blvd wo                                                                                              F1_ ED
     Gland2le CA 91202                                                                                          Superlor COU0 of Ulifornia
     (818)630-7280                                                                                                 County of Los Aneeles
   ATTORNEY FOR Plainfiff

   SUPERIOR COURT OF CAILIFORNIA, COUNTY OF LOS ANGELES                                                                 NOV 2 8 2017
   111 N Hill St,                                                                                           Sherri R. Carter, MeMdVe
                                                                                                                                            01'ficer/Clerk
   Los Angeles, CA 9M12

   PLAINTIFFIPETITIONER:             Maritza Castrellon                                                          CAM61UNBEWyan
                                                                                                                 OC680851
   DEFENDANTIRESPONDENT!             ritness Club Management, LLC


                                     Proof of Service of Summons


                                                                                                                                       BY FAX
  1. At the time of service I was at least 18 years of age and not a party to this. action.

  2. 1 served copies of.
                                                              Summons
                                                              Class-Action Complaint
                                                              Civil Case Cover Sheet
                                                              Civil Case Cover Sheet Addendum and Statement of
                                                               Location
                                                              Notice of Case Assignment
                                                              Voluntary Efficient Litigation Stipulations




 3a. Party Served:
                                                              HARMAN FITNESS. LLC, a Clalfornia Illmited liability company.                 -
 3b. Person (other than the party in ftem 3a)served on behalf of an entity or
                                                                              as an authorized agent(and not a person under
 ftern 5b on whom substituted service war. made)-

                                               Curtis Harman
                                               Registered Agent
 Gender M AGE;55 -.11-leight 6' Weight 235 Race- Cauc Hair gray-black
                                                                      Other:
 4, Addms where the party was served-
                                                          18566 Clydesdale Rd
                                                          Granada Hills, CA 91:~44
 5. 1 served the party:
    a. By personal service, I personally delivered the
                                                       documents listed in item 2 to the party or porso'n authorized to receivq~
 process fbr the Darty.




                                                                                                                         CONTINUE9 ON NEXT PAGE
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 JUdbWc0U11d010d&ykiA P6&44b                                                                                                           c    Of OWD PMMWM. 9417.1
 Otw.Janvwy 1,2071
                                                          ,   PrOof of Service of Summons
 131111na Code: Crunch
                                                                                                                   Invoice No:       170471-02
                                                                                                                                 .


                                                                  14:20:36 2017-11-28



                                                                                                                                           Exhibit A
                                                                                                                                           Page 28
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   PLAINTIFF/PUITIONER:               Marttza Castrellon '                                                 CASE NUMBER:
                                                                                                           BC680851
   DEFENDANWRESPONDENT:               Ftness Club Management, LLC




                                                       (1)on: 11/16/2017      (2) at: 09:20 PM


  8. The "Notice to the Person Served"(on the summons)was completed as follows:


                                                       d. on behalf of HARMAN.FITNESS, ILLC. a Claifornia Ilimited liability
  company

                                                          under the following Code of Civil Procedure section'.

                                                          Other Corp. Code 17701.16

  7. Person who served papers
     a. Name, David Kam
     b, Address, 1545 Wilshire Blvd. Suite 311, Los Angeles, CA 90017
     c. Telephone number 213-628-6338
     d. The ILvo for this service was: 35.ou
     e. I am:
    (3)[XI a registered California process server
            (i)[X] Independent Contractor
            (ii) Registration No.: 2013212734 Expires, 10/4/2019
            (iii) County: Los Angeles

 8, 1 declare under penalty of pejury under the laws of.the State of California that
                                                                                       the foregoing is true and correct.




                                                                                                                                     I




 11127/2017
 David Kem
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 I.dWajC.
        191,
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            "1 U :w4.
 utay.janumvi,2671                                                                                                            Cod WGMPfftodum, j4mic
                                                        Proof of ServiCe of SuMmons
 Wing Coft- Crur4h
                                                                                                             I NOW NO:      -1794031-02




                                                           14:20:36 2017-11-28



                                                                                                                                Exhibit A
                                                                                                                                Page 29
    Case 2:17-cv-08825-SJO-E Document 1-1 Filed 12/07/17 Page 26 of 29 Page ID #:30




            I                                             PROOPOFSERME
         2       I ain employed in the County ofLos Angeles; I am Over the
                                                                            age ofeighteen years
                 the within action; and my business address is 300 West Glenoaks Boulevard, Suiteand am bt a arty to
                                                                                                  300, G
                                                                                                       1~
                                                                                                        1 x)ldafe,
            3    California 91202.
         4       On November 28,2017P I served the document(s) described as PROOF OF SERVICE
                                                                                               01 '
                 SUAMONS AND CONTLAINT on the party(ies) in this action by delivering a true copy(ies)
        5        addressed as follows:
        6
                 FITNESS CLUB MANAGEMENT,LLC
        7        Attn: Curtis Hannon, Agent for Service
                 18566'Clydesdale Rd '
        8        Granada Hills, CA 91344

        9        HARMAN FITNESS,LLC
                 Attn: Curtis Harman, Ageot for Service
       .10       18566 Clydesdale Rd
                 Granada Hills, CA 91344
       11

       12       VAN NUYS FITNESS,LLC
                Attn; CUrtis Harman, Agent for Service
       13       19867 Prairie St., Suite,200
                Chatsworth, CA 91311
       14

       15       XXX . Dy IT-S. MML: I am readily familiar with the firm's practice of collection and pro.essiog
                      correspondence for mailing. Under that practice, an envelope(s)
                      would be 4 sited with'the U.S. Postal Service                       containing the docianent(s)
       16                                                                on that same day, with postage ther m fully ,
                      prepaid, at ZF10
                                     cudale, California in the ordinary course of business. I am aware that, on
                                             4 .
       17             the party served, service is presurned invalid if the postal-cancellation date or posta~ motion of
                      is more than One day after the date of deposit for mailing..                            e-meter date
                                                                                                          I
       18
                El     By OVERNIGHT DELIVERY OR EXPRESS MAIM: I enclosed
                                                                                            the documetit )in an
                       envelope(s)or Packake(s) allowed by sin nuom;g1kt-4vj. vety carder anwor
       19                                                                                        Dy ule U. - Post
                       Office for express-imail, and addressed to the person(s)    at the address(es) above. I p,
                       enVelone( nr n-qr--L-   f N f~    n –,~                                                       the
       20                                                             Mira
                                                                              &I   -, vexy ot express m I at ar, office or a
                       regularly utilized drop-box .ofthe Overnight-delivery carrier, or I
                       offke.                                                              dropped it off at th U.S.Post.
       21

       22              BY RAND DELXWRy: I caused the
                                                     document(s)to be delivered by hand to at least one ofthe
                       individuals listed n),,—
       23
                I declare under penalty OfPc&rY under the laws ofthe state
                                                                           of California and the United States that the
                foregoing is true and correct. Executed on November 28,2017,
       24                                                                      at Glendale, California.
       25

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                                                                              Estineh Megerdichlan
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                                                           MOOF OF SEXVICE
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                                                                                                               Exhibit A
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      Case 2:17-cv-08825-SJO-E Document 1-1 Filed 12/07/17 Page 27 of 29 Page ID #:31



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         ATTORNEYOKPARTY THWTATTORNEY                                                                                 FOR COURT USE ONLY
           Michael Jaurigue SON 208123
           Jaudgue Low Group
           300 W Glenoake Blvd 300                                                                                                AVILED
           Glondale CA 91202                                                                                           Supel-lor C'
                                                                                                                                  04"t of colitopnia
           (818)6304280                                                                                                   County Of Los
                                                                                                                                         Angeles
         ATTORNEY FOR Plaintiff
         SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES                                                                 NOY 28 2017
         111 N Hill St.                                                                                          Sherri R. COrter,
         Los Angeles, CA 90012                                                                                              ).1-Z —i~"E"C""OfficOr/Clerl
                                                                                                                  B                       11
         PLAINTIFFIPETITIONER:             Marliza C291fellon                                                     CASE NIJM                    Deputy
                                                                                                                 Bc6mll
         DEFENDANDRESPONDENT:              Fitness Club Management, LLC


                                           Proof of Sorvice of Summons


                                                                                                                                    BY FAX
        1, At the time of service I was at least 18 years of age and ncrt a party to this action.

       2. 1 served copies of
                                                                Summons
                                                                 Class-Action Complaint
                                                                 Civil Case Cover Sheet
                                                                Civil Case Cover Shoet Addendum and Statement of
                                                                 Location
                                                                 Notice of Case Assignment
                                                                 Voluntary Efficient Utigabon Stipulations




       3a. Party Served:
                                                                FITNESS CLUB MANAGEMENT, LLC, a Califoririia limited liabII4
       company

       3b. Person (other than the party in Item 3a)smed on behalf of an entity or as an authorized agent(and not a person under
       item 5b on whom substituted service was madG):

                                                  Curtis Harman
                                                  Registered Agent
       Gender: M AGE, 55 Height,61 Weight 235 Race: Caue Hair: gray - black                    Otber

       4. Address where the party was served:
                                                                18566 ClydesdaIG Rd
                                                                Granada Hills, CA 91344

       5. 1 served  the party.
          a. 13Y per'$Onl service, I personally delive'red the documents listed In
                                                                                     Item 2 to the party or person authorized to receive




                                                                                                                          CONTINUED ON NEXT PAGE
       Form AdWWO for MmxigWry L[se
       JudicWC9=dUtCa2ftMJa MEMO                                                                                                     q*040fCMprocedufs, §417.10
       [Rev.4mry 1,2007)
                                                                 Proof of Service of Summons
       Billing Code: Crunch
                                                                                                                    Invoice No;    1794031-01



                                                                    14:18:47 2017-11-28
;~e


                                                                                                                                      Exhibit A
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  PLAINTIFF/PETITIONER:               Maritza Castrellon                                                CASE NUMBER:
                                                                                                        BC6808511
  DEFENDANTIRESPONDEN-P               FtMa Club Management, LLC




 prooms for the party.

                                                       (1)on: 11/16/2017      (2)at 09;20 AM


 0. The "NoUcs to the Person Served"(on the summons)was completed as follows:


                                                       d. on beh2if of rITNESS CLUB MANAGEMENT, LLC, a California limited
 liability compiany

                                                           under the following Code of ClvI1 Procedure sectioni

                                                           ftBr: Corp. Code 17701.16

 7. Person who served papers
    a. Name: David Kern
    b. Addregs: 1645 Wilshire Blvd. Suite 311, Los Angeles, CA 90017
    c. Telephone number 213-626-6338
    d. The fee for this service was;80.00
        am:
   (3)[X]a registered California process server
          (1)[XI Independent Contractor
          (11) Reglstration No,: 2013212734 Expires: 10/4/2019
          (ill) County: Los Angeles

 8. 1 declare under penatty of perjury under the lam of the State Of California that the foregoing is true and correct.




 11/27/2017
 David Kern
 Fofm Ad0WQd for Mandifty U99
 JWD= CWWq at             P08.010                                                                                           Mi~ ofQM PwWjo. J417.10
 Aw.Janunty 1,200n
                 CWffiWW6
                                                         Proof of Service of SUrnmong.
 DWIng Co&: Cr6nch
                                                                                                           Involee NO:    1794031-01



                                                             14:18:47 2017-11-28

                                                                                                                             Exhibit A
                                                                                                                             Page 32
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    I
                                                  PROOFOFSERVICE
    2    I am employed in the County ofLos Angclos; I am over the, age ofeighteen years and am not a party to
         the within action; and my business address is 300 West Glenoaks Boulevard, Suite 300, Glendale,
    3    California 91202.
    4    On November 28,2017,1 served the document(s) described as PROOF OF SERVICE OF
         SUMMONS AND COMPLAINT on the party(ies) in this action by delivering a true copy(ies)
    5    addressed as follows:
    6    FITNESS CLUB MANAGEMENT,LLC
    7    Attn* Curtis Harman, Agent for Service
         18566 Clydesdale Rd
    8    f3ranada Hills, CA 91344

    9    HARMAN FITNESS,LLC
         Attn: Curtis Harman, Agent for Service
   10    18566 Clydesdale Rd
   II
         Granada Hills, CA 91344

   12    VAN NUYS FITNESS,LLC
         Attn: Curtis Hannan, Agent for Service
   13    19867 Prairie St., Suite 200
         Chatsworth, CA 91311
   14
   15    XXX BY U.S. MAIL: I am readily familiar with the firm's practice of collection and prociessing
                correspondence for mailing. Under that practice, an envelope(s) containing the document(s)
                would be dePosited with-the U.S.Postal Service on that same day, with postage thereon ful
   16           prepaid, at Glendale, California in the ordinary course of business. I am aware that, on motion of
   17           ~he party served, service is esurned invalid ifthe postal-cancellation date or Mtage-meter date
                is more than one day after tKedate of doposit for mailing.
   is
                13Y OVERNIGHT DELIVERY OR EXPRESS MAIL! I enclosed the document(s)in an
   19           envelope(s)or package(s)allowed by an ovemight-delivery carrier and/or by the-U.S. Post
                Office for express mail, and addressed to the person(s) at the address(es) above. I placed the
    20          envelope(s)or package(s)for collection and overnight delivery or express mail at an office or a
                regularly utilized drop-box ofthe overnight-delivery carrier, or I dropped it off at th6 U.S. Post
   .            Office.
    21
   22           BY HAND DELIVERY: I caused the document(s)to be delivered by band to at least one ofthe
                individuals listed above.
   23
         I declare under penalty ofpe~ury under the laws ofthe State of California and the United States that the
   24    foregoing is true and correct. Executed on November 28,2017, at Glendale, California, '

   25
   26                                                                Estineh Megerdichfan

   27
   28

                                                             I

                                                    PROOF OF SERVICE
                                               1448:47 201.7-14-28

                                                                                                     Exhibit A
                                                                                                     Page 33
